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aJS44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except ag provided
by locai rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Andrea Casula, On Behalf Of Herself And All others athenahealth, Inc. (See Attached)
Similarly Situated
(b) County of Residence of First Listed Plaintiff DuPage County, IL County of Residence of First Listed Defendant Middiesex County, MA
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY} :
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOEVED.
(c) Attomey’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Jeffrey C. Block, Berman DeValeric, One Liberty Square, Boston
MA 02109 (617) 542-8300 Bl
Il. BASIS OF JURISDICTION — (lace an “xX” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Pizce an “xX” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Oi. U.S. Government M3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 O 1 Incorporated or Principal Piace o4 a4
of Business In This State
O2 U.S. Government O 4 Diversity Citizen of Another State O2 OG 2 Incorporated and Principal Place a5 a5
Defendani . of Business In Another State

(Indicate Citizenship of Partics in Item It!)

Citizen or Subject of a go 3 O 3. Foreign Nation O46 O86
Foreign Country

IV. NATURE OF SUIT. @lace an “X” in One Box On

RACT: eT OF Gg TERE en IDE
O 110 Tusurance PERSONAL INJURY PERSONALINJURY |@ 610 Agriculture O 422 Appeal 28 USC 158 O 400 State Reapportionment
O 120 Marine G 310 Airplane O 362 Personal Injury - 0: 620 Other Food & Drug 0 423 Withdrawal O 416 Antitrust
0 130 Miller Act G 315 Ainplane Product Med. Malpractice 0 625 Drug Related Seizure 28 USC 157 O 430 Banks and Banking
O 140 Negotiable Instrument Liability O 365 Personal Injury - ! - of Property 21 USC 881 O 450 Commerce
1 150 Recovery of Overpayment |G 320 Assault, Libel & Product Liability 0 639 Liquor Laws ROPE Ci 460 Deportation
& Enforcement of Judgment Slander 368 Asbestos Personal O 40 RR. & Truck OF 820 Copyrights 0 470 Racketeer Influenced and
O 151 Medicare Act G 330 Federal Employers’ Tajury Product 0 650 Airline Regs. O 830 Patent Corrupt Organizations
0 152 Recovery of Defaulted Liability Liability 0 660 Occupational OF 840 Trademark 0 480 Consumer Credit
Student Loans OG 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat T¥
(Excl. Veterans) GQ 345 Marine Preduct O 370 Other Fraud . [0 699 Other 0 810 Selective Service
O 153 Recovery of Overpayment Liability O 371 Truth in Lending SOGTALEST MM 850 Securities/Commodities/
of Veteran's Benefits O 380 Motor Vehicle 1 380 Other Personal 0 719 Fair O 861 AYA (395ff) Exchange
OC 160 Stockholders’ Suits GO 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) OF 875 Customer Challenge
(J 190 Other Contract Product Liability O 385 Property Damage O 720 Labor/Mgmt. Relations [0 863 DIWC/ADIWW (405(¢)} 12 USC 3419
(J 195 Contract Product Liability |) 360 Other Personal Product Liability 730 Labor/Mgmt.Reporting |0 864 SSID Title XVI OF 890 Other Statutory Actions
96 Franchise j & Disclosure Act OG 865 RSI (405(¢g O 891 Agricultural Acts
fF ke RISONER ERTEIONS © | 0 740 Railway Labor Act iE TAxS 1 892 Economic Stabilization Act
0 210 Land Condemnation O 441 Voting G 510 Motions to Vacate [0 790 Other Labor Litigation G 870 Taxes (U.S. Plaintiff OF 893 Environmental Matters
O 220 Foreclosure O 442 Employment Sentence O 791 Empl Ret. Inc. or Defendant) O 894 Energy Allocation Act
0 230 Rent Lease & Ejectment [Ol 443 Housings Habeas Corpus: Security Act O 871 IRS—Third Party OF 895 Freedom of Information
0 2490 Torts to Land Accommodations CF 530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare CH 535 Death Penalty eed OF 900Appeal of Fee Determination
0 290 AU Other Real Property [OO 445 Amer. w/Disabilitics- |) 540 Mandamus & Other [0 462 Naturalization Application Under Equal Access
Employment OF 550 Civil Rights 0 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee O 950 Constitationality of
Other €] 465 Other immigration State Statutes
O 440 Other Civil Rigkts Actions
V. ORIGIN (Place an “X” in One Box Only) : Appeal to District
Si Original CO 2 Removed from (7 3  Remanded from CO 4 Reinstatedor G5 Trausferredfrom 3 6 Multidistrict O 7 Judge fom
Proceeding State Court Appellate Court Reopened another district Litigation Magistrate

(specify) Judgment
CPE GL OSHS S PBT FRE Sects EE ERAAGe Mel at 544 SsaSAe | o(b) and zuVa)
Buef description of :
Securities traud claims invalving the purchase ot athenahealth, Inc. Securities

VI. CAUSE OF ACTION

VI. REQUESTEDIN  @& CHECKIFTHISISACLASSACTION | DEMANDS CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: @Y¥es ONo
VITE. RELATED CASE(S) Lo
IF ANY (See instructions); ng DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
03/19/2010 !s/ Jeffrey C. Block
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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DEFENDANTS:
athenahealth, Inc.
Jonathan Bush

Carl B. Byers
